






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-08-00459-CR







Joey Andrew Combs, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF WILLIAMSON COUNTY, 368TH JUDICIAL DISTRICT


NO. 07-1790-K368, HONORABLE BURT CARNES, JUDGE PRESIDING






M E M O R A N D U M    O P I N I O N



A jury found appellant Joey Andrew Combs guilty of burglary of a habitation. 
See&nbsp;Tex. Penal Code Ann. § 30.02 (West 2003).  The jury assessed punishment at ten years in prison
and a $3400 fine.

Appellant admitted that he entered his mother's residence when she was away and
stole her safe.  The primary issue at the trial was whether appellant, who did not live with his mother,
had consent to enter the habitation.  Appellant's mother testified that he did not.  Appellant testified
that he did.  The jury demonstrated that it believed appellant's mother by convicting appellant of
burglary rather than the lesser-included offense of theft.

Appellant's court-appointed attorney has filed a motion to withdraw supported by a
brief concluding that the appeal is frivolous and without merit.  The brief meets the requirements of
Anders v. California, 386 U.S. 738 (1967), by presenting a professional evaluation of the record
demonstrating why there are no arguable grounds to be advanced.  See also Penson v. Ohio,
488&nbsp;U.S.&nbsp;75 (1988); High v. State, 573 S.W.2d 807 (Tex. Crim. App. 1978); Currie v. State,
516&nbsp;S.W.2d 684 (Tex. Crim. App. 1974); Jackson v. State, 485 S.W.2d 553 (Tex. Crim. App. 1972);
Gainous v. State, 436 S.W.2d 137 (Tex. Crim. App. 1969).  Appellant received a copy of counsel's
brief and was advised of his right to examine the appellate record and to file a pro se brief.  No pro&nbsp;se
brief has been filed.

We have reviewed the record and counsel's brief and agree that the appeal is frivolous
and without merit.  We find nothing in the record that might arguably support the appeal.  Counsel's
motion to withdraw is granted.

The judgment of conviction is affirmed.



				__________________________________________

				Jan P. Patterson, Justice

Before Justices Patterson, Pemberton and Waldrop

Affirmed

Filed:   March 27, 2009

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